      UNITED STATES DISTRICT COURT OF NORTH CAROLINA
                       (Eastern Division)      FILED
ROSITA SABROSSO-RENNICK
3802 Delverne Road                                          p~~~~COE 1 .JR., CLERK
                                                           BY     '  uRT, EDNC
Baltimore, Maryland 21218                                       I      <    DEPCU<


Plaintiff
vs
                                                Case#:S: 17-CV-00114-BO
NORTH CAROLINA STATE TREASURER
c/o Sam Hayes, General Counsel
Shannon Conley or Angela Cooper
3200 Atlantic Avenue
Raleigh, NC 27604

Defendant
*****************************************************************************
   PLAINTIFF'S RESPONSE TO DEFENDANT'S MOTION TO DISMISS

      Now Comes, Rosita Sabrosso-Rennick, {Plaintiff}, and responds to the

Defendant's Motion to Dismiss and for reasons state:

                  PLAINTIFF'S AMENDED COMPLAINT

     · Plaintiff incorporates the facts and circumstances outlined in her

Amended Complaint, and all previously filed Complaints, as if herein restated

for reference.


                 STANDARD FOR A MOTION TO DISMISS

      A Rule 12(b)(6) motion to_ dismiss tests the legal sufficiency of the

complaint, see Randall v. United States, 30 F.3d 518, 522 (4th Cir. 1994). In


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passing on a motion to dismiss, "the material allegations of the complaint are

taken as admitted." Jenkins v. McKeithen, 395 U.S. 411, 421(1969).

Moreover, "the complaint is to be liberally construed in favor of plaintiff." (Id.)

In addition, a motion to dismiss must be assessed in light of Rule B's liberal

pleading standards, which require only "a short and plain statement of the

claim showing that the pleader is entitled to relief." Fed. R. Civ. P. 8.

Nevertheless, while Rule 8 does not require "detailed factual allegations," a

plaintiff must still provide "more than labels and conclusions, and a formulaic

recitation of the elements of a cause of action will not do." Bell Atlantic Corp.

v. Twombly, 550 U.S. 544 (2007).

      The standard for a motion to dismiss is well established. A complaint

should not be dismissed unless it appears beyond doubt that the ·

plaintiff can prove no set of facts in support of his claim which would

entitle him to relief. Carlson v. United States Dept. of Health and Human

Services, 879 F. Supp. 545, 546 (D. Md. 1995) (citing Conley v. Gibson, 355

U.S. 41, 45-46, 78 S. Ct. 99 (1957).

      The Federal Rules of Civil Procedure do not require a [Plaintiff] to

set out in detail the facts upon· which she bases her claim. Conley at 45-

46; rather, Fed. R. Civ. P. 8(a){2) requires only a short and plain statement




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of the claim showing that the pleader is entitled to relief. Migdal v. Rowe

Price-Fleming, lnt'I, 248 F.3d 321, 326 (4th Cir. 2001.)

      Motions to dismiss for failure to state a claim are granted sparingly

and with caution in order to make certain the plaintiff is not improperly

denied a right to have his claim adjudicated on the merits. Concerned

Citizens v. Hubbard, 84 F. Supp. 2d 668, 669-70 (D. Md. 2000). The function

of a motion to dismiss for failure to state a claim is to test the legal sufficiency

of the complaint, and not the facts that support it. Neitzeke v. Williams, 319,

326-27, 109 S. Ct. 1827, 1832 (1989). In the review of a motion to dismiss,

well-plead allegations in the complaint are assumed to be true. Id. at 670

(citing Jenkins v. McKeithen, 395 S. Ct. 411, S. Ct. 1843, 23 L. Ed. 2d 404

( 1969)). Thus, the complaint should be liberally construed in favor of the

plaintiff. Jenkins, 395 U.S. at 421 (citing Walker Process Equipment, Inc. v.

Food Machinery & Chemical Corp., 382 U.S. 172, 174-175 (1965)). An

employment discrimination complaint need not contain specific facts

establishing a prima facie case under the McDonnell Douglas framework.

King v. Marriott International, 195 F. Supp. 2d 720, 724 (D. Md. 2002).

Because this standard is a pleading standard and not an evidentiary

standard, Plaintiff is only required to provide "a short and plain statement of




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the claim showing that the pleader is entitled to relief' pursuant to Fed. R.

Civ. P. 8(a){2). Id. (citing Swierkiewicz v. Sorema, 122 S. Ct. 992 (2002).


              MY ARGUMENT IN SUPPORT OF WHY THIS
                COURT SHOULD DENY THE MOTION

   1. Plaintiff State law claims are not barred by Eleventh Amendment

   The Defendant's argue that it enjoys Eleventh Amendment Immunity,

thus, according to the Defendant, my state law claims fail as a matter of law.

   It is axiomatic that pursuant to the Eleventh Amendment: "[t]he judicial

power of the United States shall not be construed to extend to any suit in law

or equity, commenced or prosecuted against one of the United States by

Citizens of another State or by Citizens or Subjects of any Foreign State."

U.S. Const. amend. XI. Although by its terms the Amendment applies only

to suits brought against a state by "Citizens of another State," it is well

established that "an unconsenting State is immune from suits brought in

federal courts by her own citizens as well as by citizens of another State."

Puerto Rico Aqueduct, 506 U.S. at 144. This immunity applies to state

agencies that may be properly characterized _as "arm[s] of the State," Mt.

Healthy City Board of Ed. v. Doyle, 429 U.S. 274, 280 (1977), as well as to

state employees acting in their official capacity. Will v. Michigan Dep't of

State Police, 491 U.S. 58, 71 (1989).

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  The Eleventh Amendment, however, affords no protection to local

government entities and employees. Id. at 70. The crucial question,

therefore, in many Eleventh Amendment cases is whether an agency or

official is properly characterized as an arm of the state, or of the local

government. See       Lake Countrv Estates. Inc. v. Tahoe Reg'/ Planning

Agencv, 440 U.S. 391, 401 (1979) (citing Mt. Healthy).

   The Defendant, NC Department of State Treasurer, is an independent

agency, thus, as a matter of law, is not an arm of the State. In fact, Defendant

serves as an investment arm of the State Treasurer, not the State directly.

Accordingly, the Defendant argument that they enjoy immunity fails as a

matter of law.

   2. Plaintiff states a claim for violation of her due process rights.

   Defendant has attempted to reclassify Plaintiff's Due Process Claim, as

one under 42 U.S.C. 1983, which it clearly it is not. A rudimentary review of

Plaintiff's Amended Complaint, classifies her claims under NC State

Constitution Article I, Section 1, not 42 U.S.C. 1983.The Defendant has

cited .no case, rule or law, that prohibits it from being sued under NC State

Constitution, nor could it.

   The "touchstone of due process is protection of the individual against

arbitrary action of government." Wolff v. McDonnell, 418 U.S. 539, 558

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(1974). The Fourteenth Amendment right to "substantive due process"

protects an individual against arbitrary government action that "shocks the

conscience." U.S. v. Salerno, 481 U.S. 739, 746 (1987), citing Rochin v.

California, 342 U.S. 165, 172 (1952). Where the government action at issue

constitutes an executive act: The issue of fatal arbitrariness should be

addressed as a "threshold question," asking whether the challenged conduct

was "so egregious, so outrageous, that it may fairly be said to shock the

contemporary conscience." Where the government action at issue

constitutes an executive act:

   "The issue of fatal arbitrariness should be addressed as a
   "threshold question," asking whether the challenged conduct was
   "so egregious, so outrageous, that it may fairly be said to shock the
   contemporary conscience."

   Hawkins v. Freeman, 195 F.3d 732, 738 (4th Cir. 1999) (citations omitted).

   Executive conduct is "fatally arbitrary" when it involves "abusing

[executive] power or employing it as an instrument of oppression." Id. at 742.

Further, conduct "intended to injure in some way unjustifiable by any

government interest" is the conduct "most likely to rise to the conscience-

shocking level." County of Sacramento v. Lewis, 523 U.S. 833, 849 (1998)

   Tellingly, Defendant do not argue that the Plaintiff has failed to allege

conduct sufficiently arbitrary, egregious, and unjustifiable to be fairly said to


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shock the contemporary conscience. The Defendant instead argue first that

the Complaint fails to state a claim, because they are not liable under 42

U.S.C. 1983. ",which misses the mark.

   In order to establish a substantive due process claim under the

Fourteenth Amendment, plaintiffs must sufficiently allege "( 1) that they had

property or a property interest; (2) that the state deprived them of this

property or property interest; and (3) that the state's action falls so far beyond

the outer limits of legitimate governmental action that no process could cure

the deficiency." Svlvia Dev. Corp. v. Calvert Cntv., Md., 48 F.3d 810, 827

(4th Cir. 1995). "The protection of substantive due process is indeed narrow

and covers only state action which is 'so arbitrary and irrational, so unjustified

by any circumstance or governmental interest, as to be literally incapable of

avoidance by any pre-deprivation procedural protections or of adequate

rectification by any post-deprivation state remedies."' Id. (quoting Rucker v.

Harford Cntv., 946 F.2d 278, 281 (4th Cir. 1991 )). Moreover, the North

Carolina Constitution affords Plaintiff a more expansive substantive due

process right to be free from arbitrary and egregious governmental

actions.


   "[W]e need not determine whether the alleged conduct violated a
fundamental right. The Fourteenth Amendment also protects against
arbitrary government action that is so egregious that it "shocks· the
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conscience" or offends a "sense of justice." Toomer v. Garrett, 155 N.C. App.
462, 470, 574 S.E.2d 76, 84 (2002) (citing U.S. v. Salerno, 481 U.S. 739,
746, 95 L. Ed. 2d 697, 708, 107 S. Ct. 2095 (1987); County of Sacramento
v. Lewis, 523 U.S. 833, 140 L. Ed. 2d 1043, 118 S. Ct. 1708 (1998); State v.
Guice, 141 N.C. App. 177, 541 S.E.2d 474 (2000)).

  Article I, Section 19 of the North Carolina Constitution provides the basis

for due process in North Carolina: No person shall be taken, imprisoned,

or disseized of his freehold, liberties, or privileges, or outlawed, or

exiled, or in any manner deprived of his life, liberty, or property, but by

the law of the land. No person shall be denied the equal protection of the

laws; nor shall any person be subjected to discrimination by the State

because of race, color, religion, or national origin.

   Our courts have long held that "the 'law of the land' clause has the same

meaning as 'due process of law' under the Federal Constitution."

Nonetheless, federal court interpretations (including those of the United

States Supreme Court) of due process under the Fourteenth Amendment of

the United States Constitution, while highly persuasive, are not binding in

construing the "law of the land" clause under N.C. Const. art I, § 19. It is

axiomatic that our "State constitutional due process requirements may be

more expansive than the minimal due process requirements of the United

States Constitution," but that our state due process requirements under N.C.

Const. art. I, § 19 must equal or surpass those imposed under U.S. Const.

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amend. XIV. State v..Guice, 141 N.C. App. 177, 186-187, 541 S.E.2d 474,

480-481, 2000 N.C. App. LEXIS 1402, *14-17 (N.C. Ct. App. 2000) (internal

citations omitted).

     Defendant do not argue that Plaintiff had no constitutionally protected

property interests. It is beyond question that, in North Carolina, a career

State employee has a constitutionally protected property interest in

continued state employment. See. e.g. Snow v. N.C. HHS, 2014 U.S. Dist.

LEXIS 26033 (E.D.N.C. 2014). Plaintiff alleges she was a Information and

Communications Specialist with Defendant for more than two years prior to

the acts of which she complains (Comp. ,-i 4), and pursuant to N.C.G.S.126-

1.1, she was a career state employee. Defendant do not argue that their

actions did not deprive Plaintiff of this interest. The actions of the defendant

in    retaliation   for   complaining   of   discrimination   and   subsequently

orchestrating circumstances to terminate her amounts to a violation of her

liberty interest.

     Plaintiff had a property interest in the benefits afforded by the Defendant.

A public employee may have a property right in particular benefits. To have

a property interest in a benefit, a person clearly must have more than an

abstract need or desire for it. He must have more than a unilateral

expectation of it. He must, instead, have a legitimate claim of entitlement to


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it. It is a purpose of the ancient institution of property to protect those claims

upon which people rely in their daily lives, reliance that must not be arbitrarily

undermined. Bd. of Regents v. Roth, 408 U.S. 564, 577 (1972).

   Finally, Defendant fail to acknowledge that their actions also deprived

Plaintiff of constitutionally protected liberty interests, including the right to

work without being subjected therefore to arbitrary, coercive, and vindictive

government action. Plaintiff has therefore pleaded claims for violation of her

rights to substantive due process under both the United States and North

Carolina Constitutions.

   a. Procedural Due Process

   While Count 2 of the Complaint is captioned as a claim for violation of

Plaintiff's rights to substantive due process, the Complaint also alleges facts

stating a claim for violation of Plaintiff's rights to procedural due process. As

noted above, Plaintiff has pleaded the existence of a number of protected

property and liberty interests, and Defendant has not argued that the

Plaintiff's allegations are insufficient to make out a deprivation of these rights.

In Cleveland Bd. of Educ. v. Loudermill, the Supreme Court reiterated that

the root requirement of the Due Process Clause is that an individual be given

an opportunity for a hearing before he is deprived of any significant property

interest. This principle requires 'some kind of a hearing' prior to the discharge

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[or punishment] of an employee who has a constitutionally protected property

interest in his employment. Allen v. Dorchester County, 2013 U.S. Dist.

LEXIS 140577, *68, 2013 WL 5442415 (D. Md. Sept. 30, 2013) (citing

Cleveland Bd. Of Educ. v. Loudermill, 470 U.S. 532, 542 (1985))(internal

citations and quotations omitted).

   Plaintiff was harassed, retaliated against and subsequently terminated, in

violation of her due process, which constituted an adverse action. These

adverse actions and assignment were made suddenly and irrevocably with

Plaintiff being given no opportunity to be heard in advance. Thus Defendant

provided Plaintiff no process whatsoever for contesting these arbitrary and

detrimental government actions.

   3. Plaintiff states a claim for Retaliation Under Title VII

   Defendant attempts to have this court dismiss Plaintiff's retaliation claim

on the basis that because the events took place over a period of seven (7)

months, Plaintiff cannot demonstrate as a matter of law, that the retaliation

was casually related to her termination.

   This court must review the facts and circumstances of Plaintiff's

complaint, in a light most favorable to her, with all inferences against the

Movant, i.e. Defendant. Argo, this court must "believe" what plaintiff has

stated in her complaint as "True". See Jenkins, 395 U.S. at 421 (citing


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Walker Process Equipment, Inc. v. Food Machinery & Chemical Corp., 382

U.S. 172, 174-175 (1965)).

  Title VII proscribes discrimination against an employee because, in

relevant part, she "has opposed any practice made an unlawful employment

practice by this subchapter." Boyer-Liberto v. Fontainebleau Corp., 786

F.3d 264, 281, 2015 WL 2116849 (4th Cir. 2015) (citing 42 U.S.C. § 2000e-

3(a); Employees engage in protected oppositional activity when, inter alia,

they "complain to their superiors about suspected violations of Title VII."

Bover-Liberto, 786 F.3d 264 at 281 (citing Bryant v. Aiken Reg'I Med.

Ctrs. Inc., 333 F.3d 536, 543-44 (4th Cir.2003).

  To establish a prima facie case of retaliation in contravention of Title VII,

a plaintiff must prove "(1) that she engaged in a protected activity," as well

as "(2) that her employer took an adverse employment action against her,"

and "(3) that there was a causal link between the two events." Boyer-Liberto,

786 F.3d 264 at 281 (citing EEOC v. Navy Fed. Credit Union, 424 F.3d 397,

405-06 (4th Cir.2005). A prima facie retaliation claim under42U.S.C.§1981

has the same elements. See Honor v. Booz-Allen & Hamilton, Inc., 383 F.3d

180, 188 (4th Cir.2004)).

   Plaintiff may prove his Title VII retaliation claim either through direct and

indirect evidence of retaliatory animus, or through the burden-shifting


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framework of McDonnell Douglas Corp. v. Green, 411 U.S. 792, 93 S. Ct.

1817, 36 L.Ed.2d 668 (1973). Fosterv. Univ. of Maryland-E. Shore, 787 F.3d

243, 249, 2015 WL 2405266 (4th Cir. 2015) (citing Price v. Thompson, 380

F.3d 209, 212 (4th Cir.2004).

  The Fourth Circuit has referred to these two "avenues of proof' as the

"mixed-motive" framework and the "pretext" framework, respectively. Foster,

787 F.3d 243 at 249(citing Hill v. Lockheed Martin Logistics Mgmt., Inc., 354

F.3d 277, 284-285 (4th Cir. 2004)).

   For Plaintiff to show a causal relationship between her protected activity

and Defendant's adverse action, Plaintiff must show there is a "temporal

proximity" between the two. The Fourth Circuit has ruled that generally, a

2.5-month time frame between the protected activity and the adverse

employment action is sufficient. See Foster v. Univ. of Mary/and-E. Shore,

787 F.3d 243, 253, 2015 WL 2405266 (4th Cir. 2015) (citing King v.

Rumsfeld, 328 F.3d 145, 151 & n. 5 (4th Cir.2003).

   Here, Defendant's adverse employment action (Defendant's termination

of Plaintiff's employment by sending him the 405.03 letter and the payroll

transfer change letter on December 17, 2012) occurred approximately one

month or slightly over one month after Plaintiff engaged in the protected

activity (Plaintiff's participation in the vote of no confidence against Chief


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Goodwin). Thus, this time-period establishes a causal relationship between

Plaintiff's protected activity and Defendant's adverse employment action.

   Defendant attempts to conflate issues with regard to Plaintiff's Title VII

claim.   First,   Defendant correctly states that the Plaintiff filed             her

discrimination claim in July 2015, however, what they fail to highlight is

Plaintiff's allegations that since she filed her charge of discrimination,

Defendant's conduct was retaliatory, over a period of time, leading to her

termination.      Specifically, the Complaint alleges the following timeline in

support of her retaliation claim:

DATE                   DECISION MAKER     DISCIPLINE                 COMMENT

06-12-2014             Hired              NA                         New Employee
                                                                     (12 Month
                                                                     Probationary
                                                                     period/could
                                                                     have been let
                                                                     go for any
'----~-~~~~~~-~~~~~~~~~~~_r_e_as_o_n)_.~-~
 3-03-2015 Mary Buonfiglio None Performance
                                                            Review (Meets
                                                            Expectations)
\Cfi~2f~2o15_____ --~~~~:~:~~--- ------None- - - -------------~~ledaifegati-on-!


l09-22-2015 _Rennick_______________
             Mary Buonfiglio Negative
                                                                     discrimination. J
                                                                     Placed on
                                          Performance                Performance
                                          Review                     Improvement
                                                                     Plan ("PIP")
 November20, ______Mari8uo-nti 9-110---written         -w-arriln9,   warning Placed  l
 2015                                 unsatisfactory                 in File.        l
                                      job performance.                               I
                                      (Missing alleged                               I
                                        14
L ___________________·-                     deadlines)___.-----------~
 December 17,         Mary Buonfiglio       Allegation that
2015                                        Plaintiff missed
                                            a "Major
                                            Deadline".
-Jan-ua-..Y-8,- 201Ef--sam-sa-1oi1a-c~--- -- NA·------------------ -ce>r.-aucfed--an- --1
                      HR                                           application          !
                                                                                        I

                                                                   background           (
                                 ----·---·----------~tteck.                             j
January 29,           Kristen Bierline      Written Warning.
2016                                        Falsification of
                                            Job Application
                                            regarding
                                            education.
                                            Warning used to
                                            terminate the
------·~-----
                                            Plaintiff. -------~.



January 29,           Mary Buonfiglio       Written Warning
2016                                        regarding
                                            unsatisfactory
                                            job performance.
                                            Warning used to
                                            support
                                            termination.
February 8,           Mary Buonfiglio       Pre-Disciplinary
2016                                        Conference.
~ary 10-,---Steve Toole                     The Plaintiff was
                                                                              ---1
                                            terminated.


   Considering the facts in a light most favorable to her, Plaintiff shows that

the Defendant consistently retaliated against her from the time of protected

activity. Taken together, this evidence is sufficient to create a jury question

regarding causation prong of the prima facie case.




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   Moreover, on January 8, 2016, Defendant conducted a background

check, because Plaintiff filed a charge of discrimination and subsequently

disciplined Plaintiff for allegedly falsifying a job application. Specifically the

letter states: "In Preparation of the administrative hearing arising out of

your claims against your supervisor for discrimination, retaliation, and

harassment, the Human Resources Office at the Department of State

Treasurer made an effort to verify certain information on the job

application submitted for the position of Marketing Officer ..... during

this research it came to light that you state that you received an

associate degree in marketing from the Community College of

Baltimore appears to be FALSE ..... " EXHIBIT A

   The foregoing letter belies the Defendant's argument that Plaintiff cannot

prove a temporal proximity to her protected activity and her termination. The

background check was solely performed as a result of Plaintiff's protected

activity and was against the Defendant's own policies. Specifically, N.C.G.S.

§126-30, states in relevant part that: b. "the employing authority within

each department, university, board, or commission, shall verify the

status of credentials and the accuracy of statements contained in the

application for each [n]ew employee within "[9]0 days" from the date




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of the employees employment". It is without dispute that Plaintiff was hired

in June 2014, and that the background check was run in January 2016.

  The foregoing is direct evidence of retaliation. Direct evidence               is

"evidence   that   the   employer     'announced,       admitted,   or    otherwise

unmistakably   indicated   that     [the    forbidden    consideration]    was   a

determining factor."' Stover v. Lincoln Publ'g, Inc., 73 F.3d 358, 1995

WL 764180, at *2 (4th Cir. 1995) (unpublished table decision) (alteration

in original) (quoting Cline v. Roadway Express, Inc., 689 F.2d 481,

485 (4th Cir. 1982)). It is "evidence of conduct or statements that

reflect directly the alleged discriminatory attitude and that bear directly

on the contested employment decision." Id. (quoting Fuller v. Phipps,

67 F.3d 1137, 1142 (4th Cir. 1995), abrogated on other grounds,

Desert Palace, Inc. v. Costa, 539 U.S. 90 (2003)). "If believed, direct

evidence 'would prove the existence of a fact . . . without any inference

or presumptions."' Jordan v. Radiology Imaging Assocs., 577 F. Supp.

2d 771, 779 (D. Md. 2008) (quoting O'Connor v. Consol. Coin Caterers

Corp., 56 F.3d 542, 548 (4th Cir. 1995), rev'd on other grounds, 517

U.S. 308 (1996)).

  In Cervantes v. Int'/ Hosp. Assocs., No. 14-1356 (BJM), 2016 U.S.

Dist. LEXIS 72223 (D.P.R. May 31, 2016), the Court found that a


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reasonable jury could find retaliation due to the employer not conducting

an application verification consistent with policy, despite is arguments

that there was a suspicion of falsified information on the application a

year earlier.

   Plaintiff was subsequently terminated two (2) weeks later on February 10,

2016. EXHIBIT B.

   Moreover, Plaintiff complained from July 2015 until December 2015,

regarding Defendant's conduct in retaliation. EXHIBIT C.

   Furthermore, Plaintiff did posses an Associate's Degree and Bachelors

degree as represented in her application, thus, Defendant's did defame her

in accusing her of falsifying her application. EXHIBIT D.

   Plaintiff has stated a retaliation claim and has stated enough facts for a

jury to determine if there is causation.

   4. Plaintiff Request Leave to Amend her Complaint.

If this Court finds that the allegations in her complaint are lacking, Plaintiff

respectfully request leave to amend her complaint, as justice may require.

                                 CONCLUSION

        Plaintiff demonstrates that she has stated causes of actions against

the Defendant and would be severely prejudice if the Court dismisses the

case.


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                                                      espectfully Submitted,




                                                        3802 Delverne Road
                                                 Baltimore, Maryland 21218
                                                              443-240-3260
                                                  rositarennick@yahoo.com
                                                                    Plaintiff




                         CERTIFICATE OF SERVICE

  A copy of Plaintiff's Response to Motion to Dismiss was served on this

22nd day of April, 2018, by the Court's ECF filing System to the Lawyer of

Record.


                                           ROSITA SABROSSO-RENNICK




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       UNITED STATES DISTRICT COURT OF NORTH CAROLINA
                        (Eastern Division)

ROSITA SABROSSO-RENNICK
3802 Delverne Road
Baltimore, Maryland 21218

Plaintiff
vs
                                                    Case#:5:17-CV-00114-BO
NORTH CAROLINA STATE TREASURER
c/o Sam Hayes, General Counsel
Shannon Conley or Angela Cooper
3200 Atlantic Avenue
Raleigh, NC 27604

Defendant
*****************************************************************************

                           REQUEST FOR A HEARING
      Plaintiff request for a hearing on her Response to Defendant's Motion
to Dismiss.


                                                          Respectfully Submitted,




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                                                     rositarennick@yahoo.com
                                                                       Plaintiff


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